                                    Case 12-19163-btb                         Doc 1             Entered 08/07/12 09:57:01                                 Page 1 of 46
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                                District of Nevada                                                                                 Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Kountanis, Spyros


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-1506
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  1352 Echo Creek Street
  Henderson, NV
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         89052
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Clark
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                          Case 12-19163-btb                    Doc 1       Entered 08/07/12 09:57:01                           Page 2 of 46
B1 (Official Form 1)(12/11)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Kountanis, Spyros
(This page must be completed and filed in every case)
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Nevada, Clark County, Las Vegas                        10-10253                              1/08/10
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                     Exhibit A                                                                                 Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Charles T. Wright NV                              August 7, 2012
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Charles T. Wright NV No.10285

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                               Case 12-19163-btb                     Doc 1          Entered 08/07/12 09:57:01                        Page 3 of 46
   B1 (Official Form 1)(12/11)                                                                                                                                              Page 3
                                                                                               Name of Debtor(s):
    Voluntary Petition                                                                           Kountanis, Spyros
    (This page must be completed and filed in every case)
                                                                                        Signatures
                      Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
         I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
         petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
         [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
         has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                                (Check only one box.)
         chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
         available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
         [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
         petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                    Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
         I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
         specified in this petition.                                                                recognition of the foreign main proceeding is attached.


          /s/ Spyros Kountanis                                                                 X
     X                                                                                             Signature of Foreign Representative
         Signature of Debtor Spyros Kountanis

     X                                                                                             Printed Name of Foreign Representative
         Signature of Joint Debtor
                                                                                                   Date
         Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
         August 7, 2012
                                                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition
         Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                   compensation and have provided the debtor with a copy of this document
                                  Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                   110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                                   pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     X    /s/ Charles T. Wright NV
                                                                                                   chargeable by bankruptcy petition preparers, I have given the debtor notice
         Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
          Charles T. Wright NV No.10285                                                            debtor or accepting any fee from the debtor, as required in that section.
                                                                                                   Official Form 19 is attached.
         Printed Name of Attorney for Debtor(s)
          Piet & Wright
                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer
         Firm Name
          3130 S. Rainbow Blvd., Suite 304
          Las Vegas, NV 89146                                                                      Social-Security number (If the bankrutpcy petition preparer is not
                                                                                                   an individual, state the Social Security number of the officer,
                                                                                                   principal, responsible person or partner of the bankruptcy petition
         Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

dd@pietwright.com, tiffany@pietwright.com, jennifer@pietwright.com
        (702) 566-1212 Fax: (702) 566-4833
       Telephone Number
         August 7, 2012
                                                                                                   Address
         Date
         *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
         certification that the attorney has no knowledge after an inquiry that the            X
         information in the schedules is incorrect.
                                                                                                   Date
                    Signature of Debtor (Corporation/Partnership)
                                                                                                   Signature of bankruptcy petition preparer or officer, principal, responsible
         I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
         petition is true and correct, and that I have been authorized to file this petition
         on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                                   assisted in preparing this document unless the bankruptcy petition preparer is
         The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
         States Code, specified in this petition.

     X
         Signature of Authorized Individual
                                                                                                   If more than one person prepared this document, attach additional sheets
                                                                                                   conforming to the appropriate official form for each person.
         Printed Name of Authorized Individual
                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                                   title 11 and the Federal Rules of Bankruptcy Procedure may result in
         Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

         Date
                         Case 12-19163-btb                    Doc 1      Entered 08/07/12 09:57:01   Page 4 of 46



B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                       District of Nevada
 In re     Spyros Kountanis                                                                     Case No.
                                                                              Debtor(s)         Chapter    11




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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                           Case 12-19163-btb                       Doc 1   Entered 08/07/12 09:57:01     Page 5 of 46



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
            mental deficiency so as to be incapable of realizing and making rational decisions with respect to
            financial responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:            /s/ Spyros Kountanis
                                                                                  Spyros Kountanis
                                                  Date:          August 7, 2012




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                         Case 12-19163-btb                    Doc 1    Entered 08/07/12 09:57:01      Page 6 of 46
B 201A (Form 201A) (11/11)



                                                 UNITED STATES BANKRUPTCY COURT
                                                        DISTRICT OF NEVADA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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                         Case 12-19163-btb                    Doc 1    Entered 08/07/12 09:57:01     Page 7 of 46
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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                         Case 12-19163-btb                    Doc 1        Entered 08/07/12 09:57:01              Page 8 of 46



B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                         District of Nevada
 In re     Spyros Kountanis                                                                                  Case No.
                                                                                 Debtor(s)                   Chapter        11

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Spyros Kountanis                                                                   X /s/ Spyros Kountanis                        August 7, 2012
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                         Date

Case No. (if known)                                                                X
                                                                                       Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                         Case 12-19163-btb                    Doc 1        Entered 08/07/12 09:57:01                 Page 9 of 46


B4 (Official Form 4) (12/07)
                                                          United States Bankruptcy Court
                                                                         District of Nevada
 In re     Spyros Kountanis                                                                                    Case No.
                                                                                Debtor(s)                      Chapter    11


                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                     Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
           accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
           persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
           the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
           If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
           address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
           name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                   (1)                                             (2)                               (3)                  (4)                (5)

Name of creditor and complete             Name, telephone number and complete               Nature of claim (trade
                                                                                                              Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of           debt, bank loan,  contingent,            [if secured, also
code                                      employee, agent, or department of creditor        government contract,
                                                                                                              unliquidated,          state value of
                                          familiar with claim who may be contacted          etc.)             disputed, or           security]
                                                                                                              subject to setoff
Anesthesia Associate                      Anesthesia Associate                              Services Rendered Disputed               41.00
c/o Allied Collection                     c/o Allied Collection Services
Services                                  3080 South Durango Drive, Suite 20
3080 South Durango Drive,                 Las Vegas, NV 89117
Suite 20
Las Vegas, NV 89117
Bac Home Loans Servicing                  Bac Home Loans Servicing                          Rental Property:                         444,643.43
450 American Street                       450 American Street                               5805 Mac Duff
Simi Valley, CA 93065                     Simi Valley, CA 93065                             Court                                    (Unknown
                                                                                            Las Vegas, NV                            secured)
                                                                                            89141
Bac Home Loans Servicing                  Bac Home Loans Servicing                          Rental Property:                         304,134.19
450 American Street                       450 American Street                               11233 Piazzale
Simi Valley, CA 93065                     Simi Valley, CA 93065                             Street                                   (Unknown
                                                                                            Las Vegas, NV                            secured)
                                                                                            89141
Bac Home Loans Servicing                  Bac Home Loans Servicing                          Rental Property:                         110,858.09
450 American Street                       450 American Street                               11233 Piazzale                           (Unknown
Simi Valley, CA 93065                     Simi Valley, CA 93065                             Street                                   secured)
                                                                                            Las Vegas, NV                            (304,134.19
                                                                                            89141                                    senior lien)
Bank Of America                           Bank Of America                                   Credit                                   Unknown
P.O. Box 1598                             P.O. Box 1598
Norfolk, VA 23501                         Norfolk, VA 23501
Bank of America                           Bank of America                                   Rental Property:                         132,367.04
4161 Piedmont Pkwy                        4161 Piedmont Pkwy                                2050 Warm Springs                        (Unknown
Greensboro, NC 27410                      Greensboro, NC 27410                              Road, #4124                              secured)
                                                                                            Henderson, NV                            (112,015.66
                                                                                            89014                                    senior lien)
Bank of Las Vegas                         Bank of Las Vegas                                 2009 Lexus RX350                         14,520.00
6001 South Decatur Blvd.,                 6001 South Decatur Blvd., Suite P
Suite P                                   Las Vegas, NV 89118                                                                        (14,500.00
Las Vegas, NV 89118                                                                                                                  secured)
Capital One                               Capital One                                       Credit                                   10,476.00
P.O. Box 85520                            P.O. Box 85520
Richmond, VA 23285                        Richmond, VA 23285


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                         Case 12-19163-btb                   Doc 1         Entered 08/07/12 09:57:01               Page 10 of 46


B4 (Official Form 4) (12/07) - Cont.
In re      Spyros Kountanis                                                                         Case No.
                                                         Debtor(s)

                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                         (Continuation Sheet)

                   (1)                                             (2)                             (3)                     (4)                   (5)

Name of creditor and complete             Name, telephone number and complete             Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of         debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor      government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted        etc.)                    disputed, or           security]
                                                                                                                   subject to setoff
Chase                                     Chase                                           Credit                                          Unknown
P.O. Box 15298                            P.O. Box 15298
Wilmington, DE 19850                      Wilmington, DE 19850
Discover Financial Services               Discover Financial Services                     Credit                                          16,476.00
P.O. Box 15316                            P.O. Box 15316
Wilmington, DE 19850                      Wilmington, DE 19850
Farmers Insurance Group,                  Farmers Insurance Group, FC                     Credit                                          34,525.00
FC                                        4601 Wilshire Blvd., Suite 1
4601 Wilshire Blvd., Suite 1              Los Angeles, CA 90010
Los Angeles, CA 90010
First Horizon Home Loans                  First Horizon Home Loans                        Rental Property:                                422,085.64
4000 Horizon Way                          4000 Horizon Way                                10978 Pentland
Irving, TX 75063                          Irving, TX 75063                                Downs Street                                    (Unknown
                                                                                          Las Vegas, NV                                   secured)
                                                                                          89141
Gateway Lots, Inc.                        Gateway Lots, Inc.                              3 Parcals/ 15 Acres                             59,851.99
4132 S. Rainbow Blvd., PMB                4132 S. Rainbow Blvd., PMB 324                  in AZ
324                                       Las Vegas, NV 89103                                                                             (Unknown
Las Vegas, NV 89103                                                                                                                       secured)
HSBC/Best Buy                             HSBC/Best Buy                                   Credit                                          Unknown
P.O. Box 15521                            P.O. Box 15521
Wilmington, DE 19805                      Wilmington, DE 19805
Internal Revenue Service                  Internal Revenue Service                        Federal Taxes                                   31,560.34
110 City Parkway                          110 City Parkway
Las Vegas, NV 89106                       Las Vegas, NV 89106
US Bank                                   US Bank                                         Credit                                          5,101.00
P.O. Box 790084                           P.O. Box 790084
Saint Louis, MO 63179                     Saint Louis, MO 63179
US Bank                                   US Bank                                         Credit                                          4,955.17
425 Walnut Street                         425 Walnut Street
Cincinnati, OH 45202                      Cincinnati, OH 45202
Wells Fago Bank                           Wells Fago Bank                                 Credit                                          2,651.78
P.O. Box 5058                             P.O. Box 5058
Portland, OR 97208-5058                   Portland, OR 97208-5058
Wells Fargo Bank                          Wells Fargo Bank                                Credit                                          31,207.05
P.O. Box 5445                             P.O. Box 5445
Portland, OR 97228                        Portland, OR 97228
Wells Fargo Card Services                 Wells Fargo Card Services                       Credit                                          34,874.61
P.O. Box 29746                            P.O. Box 29746
Phoenix, AZ 85038-9746                    Phoenix, AZ 85038-9746




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                       Case 12-19163-btb                     Doc 1        Entered 08/07/12 09:57:01            Page 11 of 46


B4 (Official Form 4) (12/07) - Cont.
In re      Spyros Kountanis                                                                         Case No.
                                                         Debtor(s)

                        LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                        (Continuation Sheet)

                                       DECLARATION UNDER PENALTY OF PERJURY
                                     ON BEHALF OF A CORPORATION OR PARTNERSHIP
                     I, Spyros Kountanis, the debtor in this case, declare under penalty of perjury that I have read the foregoing
           list and that it is true and correct to the best of my information and belief.


Date August 7, 2012                                                    Signature   /s/ Spyros Kountanis
                                                                                   Spyros Kountanis
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                            Case 12-19163-btb                    Doc 1        Entered 08/07/12 09:57:01         Page 12 of 46
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                         District of Nevada
 In re          Spyros Kountanis                                                                            Case No.
                                                                                                     ,
                                                                                   Debtor
                                                                                                            Chapter                      11




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                 LIABILITIES                OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                          0.00


B - Personal Property                                     Yes             4                   111,518.72


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             3                                       2,652,919.24


E - Creditors Holding Unsecured                           Yes             2                                            31,560.34
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             3                                           140,307.61
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             2                                                                       7,370.10
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       7,767.62
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                19


                                                                    Total Assets              111,518.72


                                                                                      Total Liabilities           2,824,787.19




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                            Case 12-19163-btb                    Doc 1         Entered 08/07/12 09:57:01                Page 13 of 46
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                            District of Nevada
 In re           Spyros Kountanis                                                                                   Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                11


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                         31,560.34

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                             TOTAL                       31,560.34


             State the following:

             Average Income (from Schedule I, Line 16)                                                       7,370.10

             Average Expenses (from Schedule J, Line 18)                                                     7,767.62

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        1,650.00


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                        20.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                 0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                  31,560.34

             4. Total from Schedule F                                                                                            140,307.61

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        171,887.95




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                           Case 12-19163-btb                     Doc 1    Entered 08/07/12 09:57:01                Page 14 of 46
B6A (Official Form 6A) (12/07)


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 In re         Spyros Kountanis                                                                              Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

Rental Property:                                                         Rental Property             -                   Unknown                  244,382.70
2050 Warm Springs Road, #4124
Henderson, NV 89014

Rental Property:                                                         Rental Property             -                   Unknown                  539,204.48
42515 West Bravo Drive
Maricopa, AZ 85238

Rental Property:                                                         Rental Property             -                   Unknown                  422,085.64
10978 Pentland Downs Street
Las Vegas, NV 89141

Rental Property:                                                         Rental Property             -                   Unknown                  444,643.43
5805 Mac Duff Court
Las Vegas, NV 89141

Rental Property:                                                         Rental Property             -                   Unknown                  414,992.28
11233 Piazzale Street
Las Vegas, NV 89141

Rental Property:                                                         Rental Property             -                   Unknown                  513,238.72
9345 Thunder Basin
Las Vegas, NV 89149

3 Parcals/ 15 Acres in AZ                                                Fee Simple                  -                   Unknown                           0.00




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                         Total >              0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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                           Case 12-19163-btb                     Doc 1     Entered 08/07/12 09:57:01                  Page 15 of 46
B6B (Official Form 6B) (12/07)


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 In re         Spyros Kountanis                                                                                  Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Business Checking Account                                         -                        1,293.33
      accounts, certificates of deposit, or               Nevada State Bank
      shares in banks, savings and loan,                  Las Vegas Branch
      thrift, building and loan, and
      homestead associations, or credit                   Checking Account                                                  -                        6,892.29
      unions, brokerage houses, or                        Nevada State Bank
      cooperatives.                                       Las Vegas Branch

                                                          Money Market Account                                              -                        1,561.41
                                                          Nevada State Bank
                                                          Las Vegas Branch

                                                          Business Checking Account                                         -                      12,032.23
                                                          Nevada State Bank
                                                          Las Vegas Branch

                                                          Savings Account                                                   -                        2,330.79
                                                          Nevada State Bank
                                                          Las Vegas Branch

                                                          Checking Account                                                  -                           408.67
                                                          Farmers Insurance Group Federal Credit Union
                                                          Las Vegas Branch

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Miscellaneous household goods, furniture,                         -                        3,500.00
      including audio, video, and                         electronics, and appliances located at residence.
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.




                                                                                                                            Sub-Total >          28,018.72
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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                           Case 12-19163-btb                     Doc 1     Entered 08/07/12 09:57:01                  Page 16 of 46
B6B (Official Form 6B) (12/07) - Cont.




 In re         Spyros Kountanis                                                                                  Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

6.    Wearing apparel.                                    Miscellaneous clothing and accessories located at                 -                        1,500.00
                                                          residence.

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    Individual Retirement Account                                     -                      38,000.00
    other pension or profit sharing
    plans. Give particulars.                              Individual Retirement Account                                     -                      12,000.00

                                                          Individual Retirement Account                                     -                      11,500.00

                                                          Individual Retirement Account                                     -                        1,000.00

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.



                                                                                                                            Sub-Total >          64,000.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                           Case 12-19163-btb                     Doc 1     Entered 08/07/12 09:57:01                  Page 17 of 46
B6B (Official Form 6B) (12/07) - Cont.




 In re         Spyros Kountanis                                                                                  Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2009 Lexus RX350                                                  -                      14,500.00
    other vehicles and accessories.                       Vehicle is secured for $14,520 by lender.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                    Miscellaneous Tools of Trade.                                     -                        5,000.00
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.


                                                                                                                            Sub-Total >          19,500.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                           Case 12-19163-btb                     Doc 1     Entered 08/07/12 09:57:01                  Page 18 of 46
B6B (Official Form 6B) (12/07) - Cont.




 In re         Spyros Kountanis                                                                                  Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
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                                                                                                                                 Total >       111,518.72
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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                            Case 12-19163-btb                     Doc 1         Entered 08/07/12 09:57:01                     Page 19 of 46
 B6C (Official Form 6C) (4/10)


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  In re         Spyros Kountanis                                                                                       Case No.
                                                                                                           ,
                                                                                        Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account                                  Nev. Rev. Stat. § 21.090(1)(z)                                                     1,000.00                         6,892.29
Nevada State Bank
Las Vegas Branch

Household Goods and Furnishings
Miscellaneous household goods, furniture,                                 Nev. Rev. Stat. § 21.090(1)(b)                             3,500.00                         3,500.00
electronics, and appliances located at
residence.

Wearing Apparel
Miscellaneous clothing and accessories located                            Nev. Rev. Stat. § 21.090(1)(b)                             1,500.00                         1,500.00
at residence.

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Individual Retirement Account                       Nev. Rev. Stat. § 21.090(1)(r)                                                 38,000.00                        38,000.00

Individual Retirement Account                                             Nev. Rev. Stat. § 21.090(1)(r)                           12,000.00                        12,000.00

Individual Retirement Account                                             Nev. Rev. Stat. § 21.090(1)(r)                             8,000.00                       11,500.00

Individual Retirement Account                                             Nev. Rev. Stat. § 21.090(1)(r)                             1,000.00                         1,000.00

Office Equipment, Furnishings and Supplies
Miscellaneous Tools of Trade.                                             Nev. Rev. Stat. § 21.090(1)(d)                             5,000.00                         5,000.00




                                                                                                           Total:                  70,000.00                        79,392.29
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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                            Case 12-19163-btb                     Doc 1          Entered 08/07/12 09:57:01                     Page 20 of 46
 B6D (Official Form 6D) (12/07)


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  In re         Spyros Kountanis                                                                                          Case No.
                                                                                                            ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W               NATURE OF LIEN, AND                       I    Q   U                             PORTION, IF
                                                        T   J              DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                   OF PROPERTY
                                                        R
                                                                               SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxx2178                                           2006                                                       E
                                                                                                                           D

Bac Home Loans Servicing                                        Deed of Trust
450 American Street
                                                              Rental Property:
Simi Valley, CA 93065
                                                            - 5805 Mac Duff Court
                                                              Las Vegas, NV 89141
                                                                Value $                               Unknown                           444,643.43                 Unknown
Account No. xxxx9997                                            2004

Bac Home Loans Servicing                                        First Deed of Trust
450 American Street
                                                              Rental Property:
Simi Valley, CA 93065
                                                            - 11233 Piazzale Street
                                                              Las Vegas, NV 89141
                                                                Value $                               Unknown                           304,134.19                 Unknown
Account No. xxxx2264                                            2004

Bac Home Loans Servicing                                        Second Deed of Trust
450 American Street
                                                              Rental Property:
Simi Valley, CA 93065
                                                            - 11233 Piazzale Street
                                                              Las Vegas, NV 89141
                                                                Value $                               Unknown                           110,858.09                 Unknown
Account No. xxxxxxxxxx0099                                      2004

Bank of America                                                 Second Deed of Trust
4161 Piedmont Pkwy
                                                              Rental Property:
Greensboro, NC 27410
                                                            - 2050 Warm Springs Road, #4124
                                                              Henderson, NV 89014
                                                                Value $                               Unknown                           132,367.04                 Unknown
                                                                                                                   Subtotal
 2
_____ continuation sheets attached                                                                                                      992,002.75                         0.00
                                                                                                         (Total of this page)




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                            Case 12-19163-btb                     Doc 1          Entered 08/07/12 09:57:01                     Page 21 of 46
 B6D (Official Form 6D) (12/07) - Cont.




  In re         Spyros Kountanis                                                                                          Case No.
                                                                                                             ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                             O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                       PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                      I    Q   U
                                                                                                                                      DEDUCTING
                                                        T   J                                                         N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                           G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. 0001                                                2012                                                       E
                                                                                                                           D

Bank of Las Vegas                                               Automobile Loan
6001 South Decatur Blvd., Suite P
Las Vegas, NV 89118                                             2009 Lexus RX350
                                                            -

                                                                Value $                               14,500.00                         14,520.00                 20.00
Account No. xxxxxxxxx7268                                       2007

First Horizon Home Loans                                        Deed of Trust
4000 Horizon Way
                                                              Rental Property:
Irving, TX 75063
                                                            - 10978 Pentland Downs Street
                                                              Las Vegas, NV 89141
                                                                Value $                               Unknown                          422,085.64           Unknown
Account No. xxxxxx2763                                          2008

Gateway Lots, Inc.                                              Deed of Trust
4132 S. Rainbow Blvd., PMB 324
Las Vegas, NV 89103                                             3 Parcals/ 15 Acres in AZ
                                                            -

                                                                Value $                               Unknown                           59,851.99           Unknown
Account No. xxxxxxxxx3617                                       2005

Suntrust Mortgage/Cc 5                                          First Deed of Trust
1001 Semmes Avenue
                                                              Rental Property:
Richmond, VA 23224
                                                            - 42515 West Bravo Drive
                                                              Maricopa, AZ 85238
                                                                Value $                               Unknown                          355,530.09           Unknown
Account No. xxxxxxxxx2409                                       2003

Us Bank Home Mortgage                                           First Deed of Trust
4801 Frederica Street
                                                              Rental Property:
Owensboro, KY 42301
                                                            - 2050 Warm Springs Road, #4124
                                                              Henderson, NV 89014
                                                                Value $                               Unknown                          112,015.66           Unknown
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                              Subtotal
                                                                                                                                       964,003.38                 20.00
Schedule of Creditors Holding Secured Claims                                                              (Total of this page)




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                            Case 12-19163-btb                     Doc 1          Entered 08/07/12 09:57:01                    Page 22 of 46
 B6D (Official Form 6D) (12/07) - Cont.




  In re         Spyros Kountanis                                                                                         Case No.
                                                                                                            ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                            O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                            T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                      PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
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                                                                                                                                     DEDUCTING
                                                        T   J                                                        N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                          G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                     N    A
                                                                                                                     T    T
Account No. xxxxxxxxxxxxx1998                                   2006                                                      E
                                                                                                                          D

Wells Fargo Bank                                                Second Deed of Trust
P.O. Box 31557
                                                              Rental Property:
Billings, MT 59107
                                                            - 42515 West Bravo Drive
                                                              Maricopa, AZ 85238
                                                                Value $                               Unknown                         183,674.39           Unknown
Account No. xxxxxxxxxxxxx1998                                   2004

Wells Fargo Bank                                                Second Deed of Trust
P.O. Box 31557
                                                              Rental Property:
Billings, MT 59107
                                                            - 9345 Thunder Basin
                                                              Las Vegas, NV 89149
                                                                Value $                               Unknown                          90,451.91           Unknown
Account No. xxxxxxxxx7287                                       2004

Wells Fargo Home Mortgage                                       First Deed of Trust
8480 Stagecoach Circle
                                                              Rental Property:
Frederick, MD 21701
                                                            - 9345 Thunder Basin
                                                              Las Vegas, NV 89149
                                                                Value $                               Unknown                         422,786.81           Unknown
Account No.




                                                                Value $
Account No.




                                                                Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                             Subtotal
                                                                                                                                      696,913.11                   0.00
Schedule of Creditors Holding Secured Claims                                                             (Total of this page)
                                                                                                                     Total          2,652,919.24                 20.00
                                                                                           (Report on Summary of Schedules)

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                            Case 12-19163-btb                       Doc 1          Entered 08/07/12 09:57:01                             Page 23 of 46
B6E (Official Form 6E) (4/10)


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 In re         Spyros Kountanis                                                                                                   Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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                            Case 12-19163-btb                     Doc 1          Entered 08/07/12 09:57:01                    Page 24 of 46
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Spyros Kountanis                                                                                         Case No.
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                               AMOUNT
                                                        O                                                            G    I   E                            ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                              PRIORITY
                                                                                                                     T    T
Account No. xxx-xx-1506                                         2004 - 2005                                               E
                                                                                                                          D

Internal Revenue Service                                        Federal Taxes
110 City Parkway                                                                                                                                     31,560.34
Las Vegas, NV 89106
                                                            -

                                                                                                                                        31,560.34                    0.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           31,560.34
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)           31,560.34                    0.00
                                                                                                                     Total                           31,560.34
                                                                                           (Report on Summary of Schedules)             31,560.34                    0.00

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                            Case 12-19163-btb                     Doc 1           Entered 08/07/12 09:57:01                    Page 25 of 46
 B6F (Official Form 6F) (12/07)


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  In re         Spyros Kountanis                                                                                         Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxx0401                                                         2008                                                          T   T
                                                                                                                                                E
                                                                              Services Rendered                                                 D

Anesthesia Associate
c/o Allied Collection Services                                            -                                                                         X
3080 South Durango Drive, Suite 20
Las Vegas, NV 89117
                                                                                                                                                                           41.00
Account No. xxxxxxxx0050                                                      2004
                                                                              Credit
Bank Of America
P.O. Box 1598                                                             -
Norfolk, VA 23501

                                                                                                                                                                      Unknown
Account No. xxxxxxxx5657                                                      2009
                                                                              Credit
Capital One
P.O. Box 85520                                                            -
Richmond, VA 23285

                                                                                                                                                                     10,476.00
Account No. xxxxxxxx3900                                                      1994
                                                                              Credit
Chase
P.O. Box 15298                                                            -
Wilmington, DE 19850

                                                                                                                                                                      Unknown

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                   10,517.00
                                                                                                                              (Total of this page)




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                            Case 12-19163-btb                     Doc 1           Entered 08/07/12 09:57:01            Page 26 of 46
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Spyros Kountanis                                                                                   Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx1070                                                      2009                                                    E
                                                                              Credit                                                  D

Discover Financial Services
P.O. Box 15316                                                            -
Wilmington, DE 19850

                                                                                                                                                        16,476.00
Account No. xxxxxx7700                                                        2009
                                                                              Credit
Farmers Insurance Group, FC
4601 Wilshire Blvd., Suite 1                                              -
Los Angeles, CA 90010

                                                                                                                                                        34,525.00
Account No. xxxxxxxx0705                                                      2000
                                                                              Credit
HSBC/Best Buy
P.O. Box 15521                                                            -
Wilmington, DE 19805

                                                                                                                                                         Unknown
Account No. 0000                                                              2012
                                                                              Credit
Investors Mangagement Group, LLC
9960 West Cheyenne Avenue, #170                                           -
Las Vegas, NV 89129

                                                                                                                                                         Unknown
Account No. xxxxxxx2098                                                       2009
                                                                              Credit
US Bank
P.O. Box 790084                                                           -
Saint Louis, MO 63179

                                                                                                                                                          5,101.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        56,102.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                            Case 12-19163-btb                     Doc 1           Entered 08/07/12 09:57:01                   Page 27 of 46
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Spyros Kountanis                                                                                         Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxx4668                                                           2009                                                           E
                                                                              Credit                                                         D

US Bank
425 Walnut Street                                                         -
Cincinnati, OH 45202

                                                                                                                                                                 4,955.17
Account No. xxxxxxxxxx9030                                                    2012
                                                                              Credit
Wells Fago Bank
P.O. Box 5058                                                             -
Portland, OR 97208-5058

                                                                                                                                                                 2,651.78
Account No. xxxxxxxx9053                                                      2009
                                                                              Credit
Wells Fargo Bank
P.O. Box 5445                                                             -
Portland, OR 97228

                                                                                                                                                               31,207.05
Account No. 4179                                                              2012
                                                                              Credit
Wells Fargo Card Services
P.O. Box 29746                                                            -
Phoenix, AZ 85038-9746

                                                                                                                                                               34,874.61
Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                               73,688.61
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              140,307.61


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                             Case 12-19163-btb                   Doc 1    Entered 08/07/12 09:57:01                  Page 28 of 46
B6G (Official Form 6G) (12/07)


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 In re             Spyros Kountanis                                                                            Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




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                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                           Case 12-19163-btb                     Doc 1   Entered 08/07/12 09:57:01            Page 29 of 46
B6H (Official Form 6H) (12/07)


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 In re          Spyros Kountanis                                                                        Case No.
                                                                                              ,
                                                                              Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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                     Case 12-19163-btb               Doc 1       Entered 08/07/12 09:57:01                   Page 30 of 46


B6I (Official Form 6I) (12/07)
 In re    Spyros Kountanis                                                                              Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 Daughter                                                    16

Employment:*                                          DEBTOR                                                       SPOUSE
Occupation                          Insurance Sales
Name of Employer                    Farmer's Insurance Agency
How long employed                   15 years
Address of Employer                 139 E. Warm Springs Rd. #19
                                    Las Vegas, NV 89119
*See Attachment for Additional Employment Information
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                   SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $          N/A
2. Estimate monthly overtime                                                                             $          0.00          $          N/A

3. SUBTOTAL                                                                                              $             0.00       $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $                 N/A
     b. Insurance                                                                                        $             0.00       $                 N/A
     c. Union dues                                                                                       $             0.00       $                 N/A
     d. Other (Specify):                                                                                 $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         5,720.10       $                 N/A
8. Income from real property                                                                             $         1,650.00       $                 N/A
9. Interest and dividends                                                                                $             0.00       $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A
12. Pension or retirement income                                                                         $             0.00       $                 N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         7,370.10       $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         7,370.10       $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            7,370.10
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Note: Debtor receives a total of $10,850 from all the rental properties after the deductions for mortgages and
         expenses (which equals to $9,200) the Debtor has a net profit of $1,650.
                     Case 12-19163-btb              Doc 1     Entered 08/07/12 09:57:01    Page 31 of 46


B6I (Official Form 6I) (12/07)

 In re    Spyros Kountanis                                                                Case No.
                                                                   Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                               Attachment for Additional Employment Information

Debtor
Occupation                       Realtor
Name of Employer                 Elite Realty
How long employed
Address of Employer              8605 S. Eastern Ave. Ste. B-102
                                 Las Vegas, NV 89123
                   Case 12-19163-btb          Doc 1      Entered 08/07/12 09:57:01              Page 32 of 46


B6J (Official Form 6J) (12/07)
 In re    Spyros Kountanis                                                                    Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,000.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   383.00
                   b. Water and sewer                                                                       $                   125.00
                   c. Telephone                                                                             $                     0.00
                   d. Other Tel, cable & I-net bundle                                                       $                   230.00
3. Home maintenance (repairs and upkeep)                                                                    $                    75.00
4. Food                                                                                                     $                   650.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                    75.00
7. Medical and dental expenses                                                                              $                   150.00
8. Transportation (not including car payments)                                                              $                   425.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    75.00
10. Charitable contributions                                                                                $                    50.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                   187.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   140.92
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   526.70
                   b. Other HOA                                                                             $                   275.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                   800.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                 2,500.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 7,767.62
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 7,370.10
b. Average monthly expenses from Line 18 above                                                              $                 7,767.62
c. Monthly net income (a. minus b.)                                                                         $                  -397.52
                         Case 12-19163-btb                   Doc 1        Entered 08/07/12 09:57:01          Page 33 of 46
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                         District of Nevada
 In re      Spyros Kountanis                                                                              Case No.
                                                                                   Debtor(s)              Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      21
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date August 7, 2012                                                   Signature   /s/ Spyros Kountanis
                                                                                   Spyros Kountanis
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                          Case 12-19163-btb                  Doc 1      Entered 08/07/12 09:57:01                   Page 34 of 46

B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                       District of Nevada
 In re       Spyros Kountanis                                                                                  Case No.
                                                                                Debtor(s)                      Chapter        11

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $90,000.00                        Approximate Gross Income - 2010
                          $78,000.00                        Approximate Gross Income - 2011
                          $45,760.80                        Approximate Gross Income - 2012 (YTD)

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE


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                       Case 12-19163-btb                     Doc 1        Entered 08/07/12 09:57:01              Page 35 of 46


                                                                                                                                                             2

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                                 STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                                    DISPOSITION

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                    DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE             PROPERTY

              5. Repossessions, foreclosures and returns

     None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
    NAME AND ADDRESS OF                                            FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
     CREDITOR OR SELLER                                           TRANSFER OR RETURN                   PROPERTY


*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                        Case 12-19163-btb                    Doc 1       Entered 08/07/12 09:57:01            Page 36 of 46


                                                                                                                                                          3

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                   TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                       DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                 ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                          DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                   DATE OF GIFT            VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                    LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                             BY INSURANCE, GIVE PARTICULARS                   DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                             AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                      OR DESCRIPTION AND VALUE
     OF PAYEE                                                               THAN DEBTOR                                  OF PROPERTY
Piet & Wright                                                          2012                                       $5,000
3130 S. Rainbow Blvd., #304
Las Vegas, NV 89146
Cricket Debt Counseling, Inc.                                          2012                                       $36.00
10121 SE Sunnyside Rd., Suite 300
Clackamas, OR 97015




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                       Case 12-19163-btb                     Doc 1        Entered 08/07/12 09:57:01              Page 37 of 46


                                                                                                                                                              4

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY


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                       Case 12-19163-btb                     Doc 1       Entered 08/07/12 09:57:01              Page 38 of 46


                                                                                                                                                           5

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                        LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.




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                       Case 12-19163-btb                     Doc 1       Entered 08/07/12 09:57:01               Page 39 of 46


                                                                                                                                                             6


                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES
Farmers Insurance               XX-XXXXXXX                       139 E. Warm Springs Rd.        Insurance Sales                  1997 - Present
                                                                 #119
                                                                 Las Vegas, NV 89119

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                            RECORDS




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                       Case 12-19163-btb                     Doc 1        Entered 08/07/12 09:57:01                   Page 40 of 46


                                                                                                                                                                   7

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                                 PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                              NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                                  OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                       DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                                  DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date August 7, 2012                                                    Signature   /s/ Spyros Kountanis
                                                                                   Spyros Kountanis
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571

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                       Case 12-19163-btb                     Doc 1      Entered 08/07/12 09:57:01                 Page 41 of 46


                                                          United States Bankruptcy Court
                                                                       District of Nevada
 In re       Spyros Kountanis                                                                                 Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $              +/- $7,500.00
             Prior to the filing of this statement I have received                                        $                 $7,500.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, reaffirmation hearings, judicial lien avoidances,
              relief from stay actions or any other adversary proceeding.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       August 6, 2012                                                   /s/ Charles T. Wright
                                                                              Charles T. Wright NV No.10285
                                                                              Piet & Wright
                                                                              3130 S. Rainbow Blvd., Suite 304
                                                                              Las Vegas, NV 89146
                                                                              (702) 566-1212 Fax: (702) 566-4833
                                                                              todd@pietwright.com, tiffany@pietwright.com,
                                                                              jennifer@pietwright.com




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                       Case 12-19163-btb                     Doc 1        Entered 08/07/12 09:57:01   Page 42 of 46




                                                          United States Bankruptcy Court
                                                                         District of Nevada
 In re     Spyros Kountanis                                                                       Case No.
                                                                                  Debtor(s)       Chapter    11




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: August 7, 2012                                                   /s/ Spyros Kountanis
                                                                       Spyros Kountanis
                                                                       Signature of Debtor




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    Case 12-19163-btb   Doc 1   Entered 08/07/12 09:57:01   Page 43 of 46


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                  United States Trustee
                  300 Las Vegas Blvd. South #4300
                  Las Vegas, NV 89101

                  Massachusetts Dept of Revenue - BK Unit
                  P.O. Box 9864
                  100 Cambridge Street, 7th Floor
                  Boston, MA 02114-9564

                  Dept. of Employment, Training & Rehab
                  Employment Security Division
                  500 East Third Street
                  Carson City, NV 89713

                  State of Nevada - Dept of Motor Vehicles
                  Attn: Legal Division
                  555 Wright Way
                  Carson City, NV 89711

                  Internal Revenue Service
                  P.O. Box 7346
                  Philadelphia, PA 19101

                  Nevada Department of Taxation
                  Bankruptcy Section
                  555 E. Washington Ave., #1300
                  Las Vegas, NV 89101

                  Texas Workforce Commission
                  Regulatory Integrity Division
                  101 East 15th Street, Room 556
                  Austin, TX 78778

                  Clark County Treasurer c/o BK Clerk
                  500 South Grand Central Parkway
                  Box 551220
                  Las Vegas, NV 89155

                  Todd M. Bailey, Tax Counsel IV
                  FTB - Legal Department
                  P.O. Box 1720, MS A-260
                  Rancho Cordova, CA 95741

                  Franchise Tax Board
                  Bankruptcy Section, MS A-340
                  P.O. Box 2952
                  Rancho Cordova, CA 95741

                  United States Attorney's Office
                  Attn: Civil Process Clerk
                  333 Las Vegas Blvd., South, Suite 5000
                  Las Vegas, NV 89101
Case 12-19163-btb   Doc 1   Entered 08/07/12 09:57:01   Page 44 of 46



              Commodity Futures Trading Commission
              1155 21st Street NW
              Washington, DC 20581

              California State Board of Equalization
              Special Operations Bankruptcy Team MIC74
              P.O. Box 942879
              Sacramento, CA 94279

              Executive Director
              California State Board of Equalization
              450 North Street, MIC 73
              Sacramento, CA 95814

              Allied Collection Services, Inc.
              Acct No xxxxx0401
              3080 South Durango Drive, Suite 208
              Las Vegas, NV 89117-9194

              Anesthesia Associate
              Acct No xxxxx0401
              c/o Allied Collection Services
              3080 South Durango Drive, Suite 20
              Las Vegas, NV 89117

              Bac Home Loans Servicing
              Acct No xxxxx2178
              450 American Street
              Simi Valley, CA 93065

              Bac Home Loans Servicing
              Acct No xxxx9997
              450 American Street
              Simi Valley, CA 93065

              Bac Home Loans Servicing
              Acct No xxxx2264
              450 American Street
              Simi Valley, CA 93065

              Bank Of America
              Acct No xxxxxxxx0050
              P.O. Box 1598
              Norfolk, VA 23501

              Bank of America
              Acct No xxxxxxxxxx0099
              4161 Piedmont Pkwy
              Greensboro, NC 27410

              Bank of Las Vegas
              Acct No 0001
              6001 South Decatur Blvd., Suite P
              Las Vegas, NV 89118
Case 12-19163-btb   Doc 1   Entered 08/07/12 09:57:01   Page 45 of 46



              Capital One
              Acct No xxxxxxxx5657
              P.O. Box 85520
              Richmond, VA 23285

              Chase
              Acct No xxxxxxxx3900
              P.O. Box 15298
              Wilmington, DE 19850

              Discover Financial Services
              Acct No xxxxxxxx1070
              P.O. Box 15316
              Wilmington, DE 19850

              Farmers Insurance Group, FC
              Acct No xxxxxx7700
              4601 Wilshire Blvd., Suite 1
              Los Angeles, CA 90010

              First Horizon Home Loans
              Acct No xxxxxxxxx7268
              4000 Horizon Way
              Irving, TX 75063

              Gateway Lots, Inc.
              Acct No xxxxxx2763
              4132 S. Rainbow Blvd., PMB 324
              Las Vegas, NV 89103

              HSBC/Best Buy
              Acct No xxxxxxxx0705
              P.O. Box 15521
              Wilmington, DE 19805

              Internal Revenue Service
              Acct No xxx-xx-1506
              110 City Parkway
              Las Vegas, NV 89106

              Investors Mangagement Group, LLC
              Acct No 0000
              9960 West Cheyenne Avenue, #170
              Las Vegas, NV 89129

              Suntrust Mortgage/Cc 5
              Acct No xxxxxxxxx3617
              1001 Semmes Avenue
              Richmond, VA 23224

              US Bank
              Acct No xxxxxxx2098
              P.O. Box 790084
              Saint Louis, MO 63179
Case 12-19163-btb   Doc 1   Entered 08/07/12 09:57:01   Page 46 of 46



              US Bank
              Acct No xxx4668
              425 Walnut Street
              Cincinnati, OH 45202

              Us Bank Home Mortgage
              Acct No xxxxxxxxx2409
              4801 Frederica Street
              Owensboro, KY 42301

              Wells Fago Bank
              Acct No xxxxxxxxxx9030
              P.O. Box 5058
              Portland, OR 97208-5058

              Wells Fargo Bank
              Acct No xxxxxxxxxxxxx1998
              P.O. Box 31557
              Billings, MT 59107

              Wells Fargo Bank
              Acct No xxxxxxxxxxxxx1998
              P.O. Box 31557
              Billings, MT 59107

              Wells Fargo Bank
              Acct No xxxxxxxx9053
              P.O. Box 5445
              Portland, OR 97228

              Wells Fargo Card Services
              Acct No 4179
              P.O. Box 29746
              Phoenix, AZ 85038-9746

              Wells Fargo Home Mortgage
              Acct No xxxxxxxxx7287
              8480 Stagecoach Circle
              Frederick, MD 21701
